              IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF TENNESSEE


_____________________________________________________________
                                )
 FIREMAN’S FUND                 )
 INSURANCE COMPANY a            )
 California corporation,        )
                                )
                    Plaintiff,  ) Civil Action No.: 3:12-CV-851
                                )
 vs.                            ) Judge: Nixon
                                )
 ST PAUL FIRE AND MARINE ) Magistrate Judge: Griffin
 INSURANCE COMPANY, a           )
 Minnesota corporation; and     )
 TRAVELERS INDEMNITY            ) JURY DEMAND
 COMPANY, a Connecticut         )
 corporation;                   )
                                )
                    Defendants. )
                                )
_____________________________________________________________
 PLAINTIFF FIREMAN’S FUND INSURANCE COMPANY’S FIRST
                   AMENDED COMPLAINT
_____________________________________________________________

      Plaintiff Fireman’s Fund Insurance Company, asserts claims against
Defendants ST. PAUL FIRE AND MARINE INSURANCE COMPANY
and TRAVELERS INDEMNITY COMPANY, as follows:


                                  PARTIES
      1.     Plaintiff Fireman’s Fund Insurance Company (hereinafter
“Fireman’s Fund”) is, and at all relevant times was, a California corporation
and an insurer authorized to transact insurance business in the State of
Tennessee.
      2.     Defendant St. Paul Fire and Marine Insurance Company
(hereinafter “St. Paul”) is, and at all relevant times was, a Minnesota


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corporation. Fireman’s Fund is informed and believes that, at all relevant
times, St. Paul was authorized to, and did, transact business in the State of
Tennessee and was subject to service under the State of Tennessee’s long
arm statute.
       3.      Defendant Travelers Indemnity Company (hereinafter
“Travelers”) is, and at all relevant times was, a Connecticut corporation.
Fireman’s Fund is informed and believes that, at all relevant times, Travelers
was authorized to, and did, transact business in the State of Tennessee and
was subject to service under the State of Tennessee’s long arm statute.


                        JURISDICTION AND VENUE
       4.      Fireman’s Fund is a corporation duly organized and existing
under the laws of the State of California, with its principal place of business
in the State of California.
       5.      St. Paul is a corporation duly organized and existing under the
laws of the State of Minnesota, with its principal place of business in the
State of Minnesota.
       6.      Travelers is a corporation duly organized and existing under the
laws of the State of Connecticut, with its principal place of business in the
State of Connecticut.
       7.      This Court has subject matter jurisdiction under 28 U.S.C.
§ 1332 because this is a civil action seeking a determination of liability
under a contract wherein the potential liability exceeds the sum of $75,000,
exclusive of interests and costs, and is between citizens of different states.
       8.      The United States District Court for the Middle District of
Tennessee is the proper venue for this action under 28 U.S.C. § 1391(b) and
(c).

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                       GENERAL ALLEGATIONS
      9.     Lucky Star, Inc., d/b/a Sugarland, Inc., is a Tennessee
corporation that does business as the country/pop band known as Sugarland.
(“Sugarland”). Fireman’s Fund issued a Portfolio Policy to Sugarland in
connection with “The Incredible Machine” Tour in 2011 (the “Sugarland
Policy”).
      10.    Steven Cohen Productions, Ltd. (“SCP”) is a Nevada
Corporation in the business of providing specialized equipment and trained
personnel to the music industry for live concert productions. SCP provided
services and equipment to Sugarland in connection with its 2011 tour. The
equipment that SCP provided for the tour included video screens, cameras,
with operators, and lights and lighting equipment, with operators. Fireman’s
Fund is informed and believes, and based thereon alleges, that Travelers
and/or St. Paul issued an insurance policy that covered direct physical loss or
damage to any equipment that SCP provided in connection with the tour.
      11.    Epic Production Technologies, U.S., Inc. (“Epic”) is an
unknown business entity that subcontracted with SCP to provide the lighting
equipment and personnel that SCP supplied to the tour. Fireman’s Fund is
informed and believes, and based thereon alleges, that Travelers and/or St.
Paul issued a separate insurance policy that covered direct physical loss or
damage to any equipment that Epic provided in connection with the tour.
      12.    SCP designed and provided, through Epic, lighting gear, much
of which also was hung on the stage structure.
      13.    On August 13, 2011, Sugarland was about to go on stage for a
concert at the Indiana State Fairgrounds in Indianapolis. Because a lightning
storm was thought to be moving into the area, the concert was delayed.
During the delay, amid gusting winds, the stage collapsed.

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      14.    Equipment that SCP and Epic provided for the tour was
destroyed in the stage collapse. SCP and Epic subsequently made an
insurance claim to Travelers and/or St. Paul for the damaged equipment that
they provided.
      15.    Fireman’s Fund is informed and believes, and based thereon
alleges, that Travelers and/or St. Paul paid a total of $1,919, 716.28 for loss
of equipment belonging to SCP and Epic. Fireman’s Fund is informed and
believes, and based thereon alleges, that Travelers and/or St. Paul paid
$1,821,094.57 to Epic and $98,621.71 to SCP.
      16.    The damaged equipment that SCP provided for the concert,
including equipment supplied Epic, was scheduled on the Commercial
Articles Floater of the Sugarland Policy. SCP is a loss payee under the
Sugarland Policy. Fireman’s Fund is informed and believes, and based
thereon alleges, that the equipment was also scheduled on the policies issued
to SCP and/or Epic.
      17.    Travelers and/or St. Paul have made a demand on Fireman’s
Fund to pay for the damaged equipment pursuant under the Sugarland
Policy.
      18.    The Sugarland Policy was issued in Tennessee and is governed
by Tennessee law. The Sugarland Policy states:
             Other insurance

             The coverage provided by this policy shall apply only as excess
             insurance over any other valid and collectible insurance or
             coverage that applies to the covered property.

      19.    Fireman’s Fund is informed and believes, and based thereon
alleges, that the insurance policy Travelers and/or St. Paul issued to SCP
contains an “Other Insurance” provision that makes that policy’s coverage

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primary over any other valid and collectible insurance, including fireman’s
Fund’s policy.
      20.    Fireman’s Fund is informed and believes, and based thereon
alleges, that the insurance policy Travelers and/or St. Paul issued to Epic
contains an “Other Insurance” provision that makes that policy’s coverage
primary over any other valid and collectible insurance, including fireman’s
Fund’s policy.


          FIRST CLAIM FOR A DECLARATORY JUDGMENT
                          (Against All Defendants)
      21.    Fireman’s Fund re-alleges and incorporates by reference
paragraphs 1-20 of the First Amended Complaint, as though fully set forth
herein.
      22.    An actual controversy has arisen and now exists between
Fireman’s Fund, on the one hand, and Travelers and/or St. Paul, on the
other, concerning their respective rights and obligations under the insurance
policies issued to Sugarland, SCP and Epic. Fireman’s Fund alleges that the
Sugarland Policy is excess only and, therefore, it has no obligation under the
policy to pay for any loss or damage to SCP’s or Epic’s equipment until the
applicable limits of the Travelers’ and/or St. Paul policies are exhausted.
Travelers and/or St. Paul dispute Fireman’s Fund’s position and maintains
that Fireman’s Fund’s obligations under the Sugarland Policy are primary
and that it must pay for any loss or damage to the equipment, irrespective of
the “Other Insurance” provisions in the parties’ policies.
      23.    Fireman’s Fund seeks a judicial determination of the parties’
respective rights and obligations under the policies and a declaratory
judgment that the Sugarland Policy is excess over the coverage afforded

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under the Travelers and/or St. Paul policies issued to SCP and Epic and, that
therefore, Fireman’s Fund has no obligation to make any payments under the
Sugarland Policy for the damaged equipment unless and until the applicable
limits of Travelers’ and/or St. Paul’s policies are exhausted.
      24.    In the alternative Fireman’s Fund seeks a judicial determination
that coverage under the Sugarland Policy must be equitably pro-rated taking
into account the applicable limits and coverage afforded under Travelers’
and/or St. Paul’s policies.


          SECOND CLAIM FOR A DECLARATORY JUDGMENT
                          (Against All Defendants)
      25.    Fireman’s Fund re-alleges and incorporates by reference
paragraphs 1-24 of the First Amended Complaint, as though fully set forth
herein.
      26.    An actual controversy has arisen and now exists between
Fireman’s Fund, on the one hand, and Travelers and/or St. Paul, on the
other, concerning their respective rights and obligations under the insurance
policies issued to Sugarland, SCP and Epic. Fireman’s Fund alleges that the
Sugarland Policy is excess only and, therefore, it has no obligation under the
policy to pay for any loss or damage to SCP’s or Epic’s equipment until the
applicable limits of the Travelers’ and/or St. Paul policies are exhausted.
Fireman’s Fund further alleges that, if the Court finds that the “Other
Insurance” clauses in the applicable policies require that coverage under the
Sugarland policy be equitably pro-rated after taking into account the
applicable limits and coverage afforded under the SCP and Epic policies,
then the amount of its liability under the Sugarland Policy is limited to the
equitably pro-rated amounts owed for the property damage, after taking into

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account all the terms and conditions of the parties’ insurance policies, the
value of the property, and the reasonableness of the amounts Travelers
and/or St. Paul paid for said property damage. Travelers and/or St. Paul
dispute Fireman’s Fund’s position and maintains that Fireman’s Fund owes
Defendants the full amounts that Defendants paid for property damage to
equipment owned by SPC and Epic, as well as other damages to which
Defendants may be entitled to reimbursement, irrespective of the “Other
Insurance” provisions in the parties’ policies.
      27.    Fireman’s Fund seeks a judicial determination of the parties’
respective rights and obligations under the policies and a declaratory
judgment as to the amounts that Fireman’s Fund is obligated to pay for the
property damage under the Sugarland Policy, if any, after taking into
account the policies’ respective “Other Insurance” clauses, all the terms and
conditions of the policies, the reasonableness of Defendants’ payments for
the property damage, and Defendants’ obligations to make the payments
under the SCP and/or Epic policies.


          THIRD CLAIM FOR A DECLARATORY JUDGMENT
                          (Against All Defendants)
      28.    Fireman’s Fund re-alleges and incorporates by reference
paragraphs 1-27 of the First Amended Complaint, as though fully set forth
herein.
      29.    An actual controversy has arisen and now exists between
Fireman’s Fund, on the one hand, and Travelers and/or St. Paul, on the
other, concerning their respective rights and obligations under the insurance
policies issued to Sugarland, SCP and Epic. Fireman’s Fund is informed and
believes, and based thereon alleges, that the policy issued to SCP did not

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have sufficient limits to cover the damage to equipment owned by Epic at
the time of the loss, and that Defendants reformed the SCP policy after the
loss occurred to alter the limits to afford coverage without adequate
consideration. Fireman’s Fund further is informed and believes, and based
thereon alleges, that Defendants’ post-loss reformation of the SCP policy
makes the payments to Epic under the SCP policy voluntary, and precludes
Defendants from seeking contribution and/or reimbursement of the amounts
it paid for Epic’s damaged equipment. Defendants dispute Fireman’s Fund’s
position and assert that the post-loss reformation of the SCP policy was done
because of a mistake in the issuance of the original policy, that they received
adequate consideration for the post-loss reformation of the policy, and that
its payments to Epic were not voluntary.
      30.    Fireman’s Fund seeks a judicial determination of the parties’
respective rights and obligations under the policies and a declaratory
judgment that Defendants payments under the SCP policy for damaged
property owned by Epic were voluntary and, therefore, that it is barred from
seeking contribution and/or reimbursement from Fireman’s Fund of any of
the amounts it paid to Epic under the SCP policy.


                          PRAYER FOR RELIEF
      WHEREFORE, plaintiff Fireman’s Fund demands judgment against
defendants Travelers and St. Paul as follows:
      1.     For a declaratory judgment that the Sugarland Policy is excess
over the coverage afforded under Travelers’ and/or St. Paul’s policies issued
to SCP and Epic and that Fireman’s Fund has no obligation to pay for any
loss or damage to the SCP’s or Epic’s equipment until Travelers’ and/or St.
Paul’s policies are exhausted. In the alternative, Fireman’s Fund seeks a

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declaratory judgment that that coverage under the Sugarland Policy must be
equitably pro-rated taking into account the applicable limits and coverage
afforded under Travelers’ and/or St. Paul’s policies;
      2.     For a declaratory judgment as to the amounts that Fireman’s
Fund is obligated to pay for the property damage under the Sugarland
Policy, if any, after taking into account the policies’ respective “Other
Insurance” clauses, all the terms and conditions of the policies, the
reasonableness of Defendants’ payments for the property damage, and
Defendants’ obligations to make the payments under the SCP and/or Epic
policies.
      3.     For a declaratory judgment that Defendants payments under the
SCP policy for damaged property owned by Epic were voluntary and,
therefore, that it is barred from seeking contribution and/or reimbursement
from Fireman’s Fund of any of the amounts it paid to Epic under the SCP
policy.
      4.     For interest and costs of suit as allowed by law; and
      5.     For such other relief as the court deems proper.


Dated: April 1, 2014
                                        _________________________________
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                          CERTIFICATE OF SERVICE


       I hereby certify that a true and exact copy of the foregoing document has
 been sent to the following addressees by email on the date set forth below.


 Marc O. Dedman, Esq.
 Brent Usery, Esq.
 Bank of America Tower
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 Attorneys for the St. Paul Fire and Marine
 Insurance Company and Travelers Indemnity
 Company



 Dated this 1st day of April 2014.


                                                 _/s/_Anthony DiPietra_________
                                                     Anthony DiPietra




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